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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

      UNITED STATES OF AMERICA,                       §
                                                      §
      v.                                              §
                                                      §      Case No. 4:20-CR-212 ALM/KPJ
      DEBRA LYNN MERCER-ERWIN (1)                     §
      KAYLEIGH MOFFETT (2)                            §


               ORDER FOR EXPEDITED RESPONSE AND NOTICE OF HEARING

.            Before the Court is Defendants’ Joint Motion to Alter Conditions of Pretrial Release (Dkt.

      333) filed on March 14, 2023. The Government shall file a response to said motion on or before

      March 23, 2023.   A hearing on the motion is set for Monday, March 27, 2023 at 1:00 p.m., in

      Plano, Texas, Courtroom 108, before the undersigned.

               So ORDERED and SIGNED this 15th day of March, 2023.




                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE




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